
461 So.2d 315 (1984)
Donna Elaine ELLIOTT, Individually and as the Administratrix of the Estate of William Stafford Elliott and Cindy Ann Elliott, Individually and Anthony R. Gilbert, Individually and as the Administrator of the Estate of Howard Morris Gilbert and Timothy F. Gilbert, Individually
v.
Prescilla Ann MERRITT, Oliver Chevrolet, Inc., the St. Mary's Parish Police Jury, Billy R. Butler, Loylis Duhon, Wilson T. Gautreaux, Cyrus Giroir, Jr., Lawrence Michel, Jr., the State of Louisiana, Department of Transportation and Development (Office of Highways), General Agents Insurance Company of America, Inc., Indiana Lumbermens Mutual Insurance Company of Indianapolis, Indiana, and Liberty Mutual Insurance Company.
No. 84-C-1949.
Supreme Court of Louisiana.
December 7, 1984.
Denied.
